Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 1 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 2 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 3 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 4 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 5 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 6 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 7 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 8 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                           Exhibit A Page 9 of 10
Case 18-23134-GLT   Doc 14-1 Filed 08/24/18 Entered 08/24/18 11:12:15   Desc
                          Exhibit A Page 10 of 10
